            Case 4:19-cv-05235-JTR                  ECF No. 20        filed 09/18/20       PageID.732 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                                                              U.S. DISTRICT COURT
                                                                  for the_                              EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                         MICHAEL P.,
                                                                                                         Sep 18, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:19-CV-5235-JTR
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 13, is GRANTED IN PART; the matter is REMANDED to the
’
              Commissioner for additional proceedings consistent with the Order at ECF No. 19. Defendant’s Motion for Summary
              Judgment, ECF No. 17, is DENIED; and Judgment is entered in favor of the Plaintiff.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                John T. Rodgers                                              on cross-motions for summary




Date: September 18,2020                                                    CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                            Angela Noel
